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November 4, 2021

VIA ECF

The Honorable Paul A. Engelmayer
United States District Court
Southern District of New York
40 Foley Square, Room 2201
New York, NY 10007


Re:     Black v. Ganieva, et al., No. 1:21-cv-08824 (PAE)


Dear Judge Engelmayer:

       Please find attached a letter from co-counsel, Susan Estrich from Estrich Goldin LLP.
Ms. Estrich is in the process of submitting her pro hac vice application for this matter.

Respectfully,

/s/ Ryan Rakower

Ryan Rakower




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November 4, 2021

VIA ECF

 The Honorable Paul A. Engelmayer
 United States District Court
 Southern District of New York
 40 Foley Square, Room 2201
 New York, NY 10007


Re:   Black v. Ganieva, et al., No. 1:21-cv-08824 (PAE)


Dear Judge Engelmayer:

I write on behalf of Plaintiff Leon Black in response to the Letter (ECF No. 12)
dated November 3, 2021 by Defendant Wigdor LLP.
First, I want to apologize for troubling you with a matter of timing that the parties
should be able to work out themselves, and we promise to do everything we can to
assure that we do so in the future.
Second, we want to clear up some confusion on the service issue. We understood
Wigdor’s offer to accept service to be conditioned on agreeing to extend their
deadline to respond to the complaint until February 4, 2022 – more than two
months, as opposed to 21 days. Our concern, then and now, was that the extension
would result in a lengthy adjournment of the Initial Case Management conference
in this case and a delay in the commencement of discovery under Rule 2(B) of this
Court’s Individual Rules and Practices. In order to avoid delay while we tried to
work out our differences, we served the parties, including Ms. Ganieva’s concierge,
who she authorized to accept service on her behalf. (ECF Nos. 14, 15.)
Third, as to the matter at hand. Of course we are willing to give Defendants the
time they need to retain counsel for this matter. We did offer to agree to the
lengthy extension they requested if they would agree to join us in asking that the
initial conference occur on or before December 10, 2021, with discovery to begin
after that conference. They rejected our offer, which is why I am writing to you. We
are trying to be reasonable. But the conduct we complained of in the complaint is
ongoing, and we do not want to lose critical time.
In sum, we respectfully request that whatever extension of time the Court chooses
to grant, it also schedule an initial conference at the Court’s earliest convenience
with discovery to begin thereafter.
Thank you for your attention to this matter; we regret that we could not or did not
resolve it ourselves.
Respectfully,
/s/ Susan Estrich_____
Susan Estrich
Estrich Goldin LLP
susan@estrichgoldin.com
www.estrichgoldin.com
Counsel for Plaintiff
(Motion for pro hac vice pending)
Cc: All Counsel of Record (by ECF)
